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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
ESTADOS UNIDOS MEXICANOS,                 )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )                      C.A. NO: 1:21-CV-11269-FDS
                                          )
SMITH & WESSON BRANDS, INC.;              )
BARRETT FIREARMS MANUFACTURING,           )
INC.; BERETTA U.S.A. CORP.; CENTURY       )
INTERNATIONAL ARMS, INC.; COLT’S          )
MANUFACTURING COMPANY LLC;                )
GLOCK, INC.; STURM, RUGER & CO., INC.;    )
WITMER PUBLIC SAFETY GROUP, INC.          )
D/B/A INTERSTATE ARMS, INC.,              )
                                          )
       Defendants.                        )
__________________________________________)

                  NOTICE OF APPEARANCE OF JOHN A. FREEDMAN

       To the Clerk of this Court and all parties of record:

       Please enter my appearance as additional counsel (co-counsel with David Duncan,

Zalkind Duncan & Bernstein LLP) for non-party group of Mexican activists, scholars, and

victims, which will be seeking leave to file an amicus brief in support of plaintiff’s opposition to

defendants’ motion to dismiss.

       I certify that I am admitted to practice in this Court.

Dated: January 31, 2022                           Respectfully submitted,

                                                  /s/ John A. Freedman
                                                  John A. Freedman (BBO #629778)
                                                  ARNOLD & PORTER KAYE SCHOLER LLP
                                                  601 Massachusetts Avenue, NW
                                                  Washington, DC 20001
                                                  (202) 942-5000
                                                  john.freedman@arnoldporter.com



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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2022, a true copy of the above document was served

upon all parties by electronic filing.

                                                   /s/ John A. Freedman
                                                   John A. Freedman




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